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ATTORNEYS FOR DEFENDANTS
TRIANGLE CROSS RANCH, LLC
GERALD E. SCHNEIDER; MICHAELEEN P. SCHNEIDER
MATHEW SCHNEIDER; MARK SCHNEIDER and THOMAS GEORGE

                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF WYOMING

ANDREW SCAVUZZO and H.I. as Parent and Next )
Friend of T.I., on behalf of themselves and all similarly )
situated persons,                                         )
                                                          )
Plaintiffs,                                               )   Case No. 1:20-CV-215-SWS
                                                          )
v.                                                        )
                                                          )
TRIANGLE CROSS RANCH, LLC, a Wyoming                      )
Limited liability corporation; GERALD E. SCHNEIDER;)
MICHAELEEN P. SCHNEIDER; MATTHEW                          )
SCHNEIDER; MARK SCHNEIDER; THOMAS                         )
GEORGE; and the SOCIETY OF OUR LADY OF                    )
THE MOST HOLY TRINITY, a Texas corporation.,              )

Defendants.
_____________________________________________________________________________

THE TCR DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ SECOND AMENDED
                                 COMPLAINT
______________________________________________________________________________

       Triangle Cross Ranch, LLC (“TCR, LLC”), Gerald Schneider, Michaeleen Schneider,

Matthew Schneider, Mark Schneider, and Thomas George (collectively, the “TCR Defendants”),
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through their attorneys White and Steele, P.C., hereby move under Fed. R. Civ. P. 12(b)(6) to

dismiss certain claims with prejudice against the TCR Defendants for failure to state a claim upon

which relief may be granted. The TCR Defendants have submitted a written brief in support of

this Motion, incorporated here by reference. TCR Defendants move for dismissal based on the

following grounds:

       1.      Plaintiff Scavuzzo fails to make a single factual allegation to support his claims

against TCR, LLC, Michaeleen Schneider, Matthew Schneider, and Mark Schneider and therefore

those claims are deficient as a matter of law. (Counts 1, 2 and 3).

       2.      Plaintiff T.I.’s fails to make a single factual allegation to support his claims against

Michaeleen Schneider, Matthew Schneider, Mark Schneider, and Tom George and therefore those

claims are deficient as a matter of law. (Counts 1, 2 and 3).

       Dated this 11th day of May, 2022.

                                                       WHITE & STEELE, P.C.

                                                       /s/ John C. Matthews
                                                       Monty L. Barnett, #6-2694
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                                                       MATHEW SCHNIDER
                                                       MARK SCHNEIDER
                                                       THOMAS GEORGE
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                               CERTIFICATE OF SERVICE

       I hereby certify that the foregoing document was filed on May 11, 2022 with the Clerk of

Court using the CM/ECF system which will automatically send email notification of such filing to

all attorneys of record.

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                                                           /s/ BreAnne Olsen
                                                          For White and Steele, P.C.
